           Case 1:19-cr-00449-LO Document 562 Filed 05/25/22 Page 1 of 5



                           UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF MARYLAND

United States of America                      *
                                              *       Case No.: 1:19-cr-00449
v.                                            *
                                              *
Kenneth Ravenell                              *
                                              *
               Defendant.                     *
                                              *
*      *       *       *       *      *       *       *       *       *      *       *       *        *

        RESPONSE IN OPPOSITION TO THE GOVERNMENT’S FORFEITURE
            MOTION AND IN SUPPORT OF REQUEST FOR A HEARING

       The Government has moved for issuance of a Preliminary Order of Forfeiture in the

above-captioned case pursuant to 18 U.S.C. § 982(a)(1) and Rule 32.2(b) of the Federal Rules of

Criminal Procedure (Dkt. 557). That motion seeks forfeiture of $1,800,000, supposedly

representing money Mr. Ravenell accepted from the Byrd DTO, and authority to seize substitute

asserts. For the reasons that follow the Government’s motion should be denied or a hearing

conducted pursuant to Federal Rule of Criminal Procedure 32.2(b)(1)(B).

I.     IN THE ABSENCE OF A SPECIAL VERDICT, FORFEITURE OF THE FUNDS
       INVOLVED IN BYRD’S DTO MONEY LAUNDERING CONSPIRACY IS
       IMPERMISSIBLE.

       As the Court knows, Count Two charged a multi-object conspiracy to violate 18 U.S.C.

§§ 1956 and 1957, involving both the Byrd DTO and the money paid to Mr. Ravenell’s law firm

at the time for Leonaldo Harris’s legal fees. Because the jury did not return a special verdict, it

is not possible to determine which conspiratorial object(s) the jury found proven or upon which

theory the jury convicted—the Byrd DTO money, the Harris legal fees, or some combination.

Therefore, under settled law, Mr. Ravenell may be sentenced only upon the least serious theory

of conviction, i.e., the Section 1957/Harris money laundering conspiratorial object and theory of

guilt. See United States v. Quicksey, 525 F.2d 337 (4th Cir. 1975); see also United States v.
                                                  1
          Case 1:19-cr-00449-LO Document 562 Filed 05/25/22 Page 2 of 5



Rhynes, 196 F.3d 207, 238 (4th Cir. 1999) (citing United States v. Barnes, 158 F.3d 662 (2d Cir.

1998) and Quicksey for same), opinion vacated in part on reh’g en banc, 218 F.3d 310 (4th Cir.

2000), and on reh’g in part, 218 F.3d 310 (4th Cir. 2000); cf. United States v. Jones, 17 F. App’x

240, 249 (4th Cir. 2001) (holding that forfeiture order was not in error where it corresponded

with a proper sentence set pursuant to offense level which corresponded with forfeiture amount).

The verdict, therefore, cannot support forfeiture of money involved in Byrd’s conspiratorial

object to launder money in violation of 18 U.S.C. §§ 1956 and 1957, and forfeiture of such

money should therefore be denied.

II.    THE GOVERNMENT IS NOT ENTITLED TO FORFEITURE OF SUBSTITUTE
       ASSETS.

       The Government also seeks permission to seize substitute assets, in anticipation of it not

being able to locate or otherwise seize the direct proceeds of the Byrd money laundering

conspiracy. Substitution of assets, however, is not permitted in these circumstances. Pursuant to

18 U.S.C. § 982(b)(2):

               The substitution of assets provisions of subsection 413(p) shall not
               be used to order a defendant to forfeit assets in place of the actual
               property laundered where such defendant acted merely as an
               intermediary who handled but did not retain the property in the
               course of the money laundering offense unless the defendant, in
               committing the offense or offenses giving rise to the forfeiture,
               conducted three or more separate transactions involving a total of
               $100,000 or more in any twelve month period.

       Here, the money allegedly subject to forfeiture was not paid to Mr. Ravenell but rather to

the Murphy Firm, and, with respect to funds paid the firm for legal fees, Mr. Ravenell was

entitled to only a very small percentage of said fees, generally 10%. Furthermore, it was the

Murphy Firm, rather than Mr. Ravenell, that “conducted” the various transactions from which

the funds in question were derived. Mr. Ravenell “acted merely as an intermediary who handled

but did not retain the property in the course of the money laundering offense,” and he did not

                                                2
          Case 1:19-cr-00449-LO Document 562 Filed 05/25/22 Page 3 of 5



“conduct[] three or more separate transactions involving a total of $100,000 or more in any

twelve month period.” See 18 U.S.C. § 982(b)(2). Mr. Ravenell did not have authority to

“conduct” any transactions himself at the Murphy Firm; all such transactions were conducted by

the firm’s accounting personnel. See, e.g., Trial Tr. 282:7-10, Dec. 13, 2021 (Mangus & AUSA

Wise) (Mangus tracked monies through client accounts); Trial Tr. 67:12-16, Dec. 14, 2021

(Mangus & White) (White: “On wire transactions, did you have the authority to approve wire

transactions or did that have to go through Beth [Wybolt]?” Mangus: “I could set them up and

[Wybolt] could approve them and then vice versa.”). The Government, therefore, is not entitled

to forfeit from Mr. Ravenell substitute assets.

III.   THE COURT MUST CONDUCT A HEARING PURSUANT TO FEDERAL RULE
       OF CRIMINAL PROCEDURE 32.2(B)(1)(B).

       Should the court deny one or both arguments made above, Mr. Ravenell respectfully

requests that the court adjourn sentencing and schedule a hearing pursuant to Federal Rule of

Criminal Procedure 32.2(b)(1)(B), which provides in relevant part: “If the forfeiture is

contested, on either party’s request the court must conduct a hearing after the verdict or finding

of guilty.” Fed. R. Crim. P. 32.2(b)(1)(B) (emphasis added). The purpose of the hearing will be,

inter alia, to demonstrate that Mr. Ravenell did not receive the funds sought for forfeiture and is

not otherwise liable, under the applicable statutes, for forfeiture of these funds.

       In addition to other evidence, the defense intends to call James Bowie, who stated during

Government interviews that Mr. Ravenell told Byrd upon his arrest in 2011 that he would not

accept cash and would only accept money from reputable sources, that Bowie went to the owner

of LOC and asked him to loan Byrd money, and that Bowie then used LOC and Byrd’s

promotion business to design a money laundering scheme designed to fool others. Bowie also

told the Government of Byrd’s efforts to hide information from Mr. Ravenell, including


                                                  3
          Case 1:19-cr-00449-LO Document 562 Filed 05/25/22 Page 4 of 5



information about LOC business losses and law enforcement’s investigation of Byrd’s DTO.

This and other evidence will be directly relevant to whether Mr. Ravenell is legally required to

forfeit the subject funds.

                                         *      *       *

       For all the foregoing reasons the Court should deny the Government’s forfeiture motion

or adjourn sentencing and schedule a hearing thereon.



 May 25, 2022                                 Respectfully submitted,

                                              SCHULTE ROTH & ZABEL LLP

                                              /s/ Aislinn Affinito
                                              ______________________________
                                              Peter H. White (D.C. Bar: 468746) (VA Bar: 32310)
                                              Aislinn Affinito (D.C. Bar: 1033700) (CA Bar:
                                              300265)
                                              McKenzie Haynes (N.Y. bar: 5683859)
                                              Schulte Roth & Zabel
                                              901 Fifteenth Street, NW, Suite 800
                                              Washington, DC 20005
                                              pete.white@srz.com
                                              aislinn.affinito@srz.com
                                              mckenzie.haynes@srz.com
                                              Attorneys for Kenneth Ravenell


                                              Outlaw PLLC

                                              /s/ Lucius Outlaw
                                              _______________________________
                                              Lucius T. Outlaw III (#20677)
                                              Outlaw PLLC
                                              1351 Juniper St. NW
                                              Washington, DC 20012
                                              (202) 997-3452
                                              loutlaw3@outlawpllc.com
                                              Attorney for Kenneth Ravenell




                                                4
           Case 1:19-cr-00449-LO Document 562 Filed 05/25/22 Page 5 of 5



                                CERTIFICATE OF SERVICE

         I hereby certify that on this 25th day of May, 2022, I caused a copy of Defendant’s

Response in Opposition to the Government’s Forfeiture Motion and in Support of Request

for a Hearing, to be served upon counsel for the United States of America via ECF and by

email, and true and correct copies of the filing are available to all parties through ECF or

Pacer.




                                                           /s/ Aislinn Affinito
                                                           ______________________________
                                                           Aislinn Affinito
                                                           Attorney for Kenneth Ravenell




                                               5
